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                    IN THE UNITED STATES DISTRICT COURT FOR              HE

                                                                                 SEP 1 1
                             EASTERN DISTRICT OF VIRGINIA

                                                                              CLLRK, U.S. DlSi^'Tu-:'
                                      Alexandria Division                       ALEXANDRIA   Vif-G'.'li


UNITED STATES OF AMERICA                            Crim. No. 1:08CR239 (GBL)


                                                    Count 1: 18 U.S.C. § 371 (conspiracy)


                                                    Counts 2&4: 18 U.S.C. § 1030 (computer
               v.                                   intrusion)


                                                    Counts 3&6: 18 U.S.C. § 2701 (unlawful
                                                    access to stored communications)


ELAINE ROBERTSON CIONI,                             Count 5: 47 U.S.C. § 223 (harassing
                        Defendant.                  telephone calls)



                                 SUPERSEDING INDICTMENT


                           September 2008 Term at Alexandria, Virginia


                                            Count 1


                                          (Conspiracy)


THE GRAND JURY CHARGES THAT:


I.      Introduction


         1.     The Defendant ELAINE ROBERTSON CIONI had a personal relationship with


BE, an individual with whom she had previously worked and who lives and works in the Eastern


District of Virginia.


        2.      This relationship began in approximately July 2005 and continued until August


2006, when Defendant moved to Tennessee. After that date, they had intermittent contact until


approximately August 2007 and were still in communication until approximately May of 2008.



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         3.    ME is the wife of BE and is a resident of the Eastern District of Virginia.

         4     AE is the daughter of BE. She attends college in the District of Columbia.

         5.    CE is the minor son of BE and is a resident of the Eastern District of Virginia.

         6.    PF is a resident of Tucson, Arizona, and is a friend of BE.

         7.    CR is a resident of the Eastern District of Virginia, and is an acquaintance and

former co-worker of BE and the Defendant. She is also friends with a current co-worker of BE,


who is named DB.

         8.     SW is a resident of Canada, who is an acquaintance of BE.


         9.     SP is a resident of Canada, who is an acquaintance of BE.


         10.    ST is a resident of Tennessee and is a friend of the Defendant.


II.      The Conspiracy and its Objects


         11.    From at least October 2006 and continuing until approximately May 2008, in the


Eastern District of Virginia and elsewhere, ELAINE ROBERTSON CIONI, Defendant herein,


conspired and agreed to violate the federal computer intrusion statutes with others known and

unknown to the government, including, but not limited to, a co-conspirator identified herein as


"ST"; that is, the conspiracy had the purpose of intentionally accessing protected computers


without authorization (and exceeding authorized access to protected computers) in furtherance of


intentionally gaining access without authorization (and exceeding authorized access to) a facility


through which an electronic communication service is provided and thereby obtaining electronic


communications in electronic storage in such system, in violation of Title 18, United States


Code, Sections 1030(a)(2)(C) and 2701.
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          12.    In addition to the specific illegal purpose of the conspiracy, the Defendant's

motive for initiating and continuing the conspiracy was to harass, annoy, and harm BE, his

family, and his acquaintances.


III.      Ways. Manner, and Means of the Conspiracy

          13.    It was part of the conspiracy that the Defendant, in coordination with her co-


conspirator ST, purchased passwords to electronic mail accounts belonging to a number of

individuals associated with BE from illegal computer hacking groups on the Internet. Neither the


Defendant nor ST was authorized to use these passwords to access the protected computers that

hosted the electronic mail accounts stored on them.

          14.    It was further part of the conspiracy that the Defendant and her co-conspirator ST

agreed to allow the Defendant to use ST's Paypal account to make purchases of passwords from


online computer hackers for multiple electronic mail accounts associated with acquaintances,


friends, co-workers, and family of BE. The Defendant also used her own Paypal account to make

purchases of passwords from online hackers to further the conspiracy.


           15.   It was further part of the conspiracy that the Defendant and/or her co-conspirator

ST obtained passwords from online computer hackers. Multiple purchases of passwords were


made by participants in the conspiracy, including for a number of accounts that the government


has been unable to identify. The government has, however, identified the following specific


purchases of passwords:

                 A)      BE's electronic mail account at AOL on or about October 12,2006 and
                         again on or about March 28, 2007;


                  B)     ME's electronic mail account at AOL on or about November 2,2006;
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              C)      AE' s electronic mail account at Gmail on or about November 10,2006;
                      and


              D)      PF's electronic mail account at AOL on or about November 12,2006 and
                      again on or about January 4,2007.


       16.    It was further part of the conspiracy that the Defendant and/or her co-conspirators

accessed and attempted to access Interstate electronic communications that were stored on

protected computers in electronic mail accounts that were associated with at least BE, ME, AE,

CE, PF, and SW from computers associated with Internet connections at the Defendant's then-

place of work in Tennessee, her residence in Tennessee, and even a cruise ship on which she

traveled. Copies of electronic mails associated with these accounts or fragments thereof were


found on the Defendant's computers or were associated with activities that were part of the


conduct involved in the conspiracy as described herein.

       17.     The conspiracy further sought to gather electronic mails that were associated with

another acquaintance of BE, specifically SP. Evidence associated with the electronic


communications of SP were recovered from the Defendant's computers and were associated with


activities that were part of the conduct involved in the conspiracy.


       BE AOL ACCOUNT ATTEMPTED INTRUSION


        18.    On or about March 10,2008, a member of the conspiracy attempted to access,


without authorization, from an Internet connection at the Defendant's then-residence in


Tennessee, information contained within the AOL electronic mail account of BE. This


information was stored on a protected computer operated by AOL within the Eastern District of


Virginia. The attempt failed. As indicated above, a member of the conspiracy purchased the


password for BE's electronic mail account at AOL from online computer hackers on or about
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October 12,2006, and again on or about March 28,2007. BE did not authorize the Defendant or


her co-conspirators to access his electronic communications.


       19.     In late 2006, the Defendant admitted to BE, after the fact, that she had obtained


unauthorized access to his personal AOL account and had been aided in that endeavor by an


unnamed individual. BE, at that time, said he forgave the Defendant. BE changed the password


to his AOL electronic mail account on more than one occasion after the Defendant told him that


she had accessed that account in 2006. BE was not aware of any additional attempts to gain


access to his personal AOL email account and never authorized the Defendant to access his


personal AOL electronic mail account.


       20.     At times during the conspiracy, BE was led to believe that his work electronic


mail account had also been compromised, but he did not know specifically by whom or that it


had actually been compromised. BE reported his suspicions to both his employer and law


enforcement.


       CEAOL ACCOUNT ATTEMPTED INTRUSION


       21.     On or about September 4,2007, a member of the conspiracy attempted to access,


without authorization, from an Internet connection at Chattanooga State Technical Community


College ("CSTCC") in Tennessee, where the Defendant worked, information contained within


the AOL electronic mail account of CE, the 13 year old son of BE. This information was stored


on a protected computer operated by AOL within the Eastern District of Virginia. The attempt


failed. Neither CE nor his parents authorized the Defendant or her co-conspirators to access his

electronic communications.
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       ME AOL ACCOUNT INTRUSION


       22.     In furtherance of the conspiracy, the Defendant and/or a co-conspirator purchased

the password for the AOL account belonging to ME, BE's wife, from online computer hackers on

or about November 2,2006 using ST's Paypal account. From on or about July 27,2007 through

on or about August 30,2007, a member of the conspiracy successfully accessed ME's AOL

electronic mail account in the Eastern District of Virginia multiple times, without authorization,

from Internet connections at both CSTCC and the Defendant's then-residence in Tennessee.


Portions of an electronic mail from sometime just before November 20,2006 that originated from


ME's AOL account were recovered from the computer assigned to the Defendant at CSTCC; this

email was from ME to someone at her son's school. ME did not authorize the Defendant or her


co-conspirators to access her electronic communications.

        23.    There were a number of unsuccessful attempted accesses of ME's AOL account


during 2008. On February 26,2008 and March 10,2008, there were attempts to access ME's


AOL account from the Defendant's then-residence. Also, on February 1,2008, there were two


failed attempts to access from an Internet connection associated with Carnival Cruises.    Both the


Defendant and her co-conspirator ST were on a Carnival cruise at that time. While on the cruise,


ST purchased Internet access, which both ST and the Defendant used.


        AE'S GMAIL ACCOUNT INTRUSION


        24.    In furtherance of the conspiracy, the Defendant and/or a co-conspirator purchased


the password for BE's college-age daughter's Gmail account on at least one occasion (on or about

November 10,2006) using ST's Paypal account. On October 2,2007, a member of the conspiracy


successfully accessed AE's Gmail account, without authorization, from an Internet connection at
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CSTCC in Tennessee, where the Defendant worked. Portions of three electronic mail messages


from AE's Gmail account were recovered from the computer assigned to the Defendant at


CSTCC:


              A)     A January 25,2007 electronic mail message entitled "Re: address" from
                     ME to AE;


              B)     A July 19,2007 electronic mail message entitled "hi, i\'m fine.:-)" from
                     AE to BE at his work electronic mail address; and


              C)     An August 1,2007 electronic mail message entitled "rooming things" from
                     AE to a friend of hers with an AOL account.


       25.    Neither AE nor her parents authorized the Defendant or her co-conspirators to


access her electronic communications.


       PF AOL ACCOUNT INTRUSION


       26.    hi furtherance of the conspiracy, on at least two occasions (on or about November


12,2006 and again on or about January 4,2007), a member of the conspiracy purchased the


password for PF's AOL account from online computer hackers. The November 2006 purchase


was made using ST's Paypal account, while the January 2007 purchase was made using the


Defendant's Paypal account.


       27.    Just three days after the purchase of PF's password for the AOL account in


November 2006, BE sent an email from his work account to PF's AOL account. At some point


between November 2006 and October 2007, a member of the conspiracy obtained a copy of the


November 15,2006 email from PF's AOL account. On both on or about October 22,2007, and


on or about November 15,2007, copies of this email were mailed to BE in the Eastern District of


Virginia by a member of the conspiracy. The October 22,2007 mailing appeared to be from the
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J.W. Marriott Pennsylvania Avenue Hotel in Washington, D.C., where the Defendant and her co-

conspirator ST were staying at the time.

       28.     On or about March 10,2008, a member of the conspiracy attempted to access,


without authorization, from an Internet connection at the Defendant's then-residence in Tennessee

information contained within the AOL electronic mail account of PF. This information was

stored on a protected computer operated by AOL LLC within the Eastern District of Virginia.

This specific attempt in 2008 failed.

       29.     PF did not authorize the Defendant or her co-conspirators to access her electronic


communications.


       SW HOTMAIL ACCOUNT INTRUSION


        30.    In furtherance of the conspiracy, on multiple occasions between April 28,2008 and


May 8,2008, the Defendant and/or another member of the conspiracy, without authorization,

successfully accessed the Hotmail electronic mail account of SW stored on a protected computer


in California from Internet connections at the Defendant's then-residence and workplace in


Tennessee.


        31.    Also, in furtherance of the conspiracy, on July 4,2007, the Defendant, using her


own Paypal account, made a purchase from the illegal online computer hacker group with the note


"Hotmail Info." Multiple electronic mail messages that were associated with SW's Hotmail


account, including one from July 8,2007 (4 days after the hacked password purchase related to


"Hotmail Info"), were found in the investigation of the conspiracy. For example, a copy of such


an email dated September 26,2007 was found on the computer assigned to the Defendant at


CSTCC. Additionally, two paper copies of emails were mailed by a member of the conspiracy to



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ME in the Eastern District of Virginia in September of 2007: one email was dated July 8,2007,

had the subject line "Re: Pictures," and was from BE to SW; the second email was dated August

14,2007, had the subject line "Re: Hi," and was also from BE to SW. The envelopes for the two

mailings appeared extremely similar including similar "constellation" stamps (though they had

slightly different addresses for ME and one was postmarked from Baltimore, Maryland). SW did

not authorize the Defendant or her co-conspirators to access her electronic communications.

       32.     In one of the mailings from a member of the conspiracy to BE in November 2007,

a member of the conspiracy included an April 17,2007 email from SP, an acquaintance of BE, to


BE's work electronic mail address. Though there was no additional information about a specific

compromise of an electronic mail account associated with SP, the computer assigned to the


Defendant at CSTCC had fragments associated with SP's boat business.


       CR YAHOO ACCOUNT COMPROMISED


       33.     In furtherance of the conspiracy, a member of the conspiracy downloaded


information from the Yahoo electronic mail account associated with CR, an acquaintance and


former co-worker of both BE and the Defendant. On the computer assigned to the Defendant at


CSTCC, a copy of CR's Yahoo Inbox and Sent Folders from on or about May 22,2008, were


found. Also found on that computer were emails between CR and DB, a former co-worker, from


on or about May 14,2008. Also located on a computer recovered from the Defendant's residence


were fragments that suggest that the computer was used to open to CR's mailbox.


        34.    CR, a resident of the Eastern District of Virginia, did not authorize the Defendant

or her co-conspirators to access her electronic communications.
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                                           Overt Acts


       35.     It was further part of the conspiracy that the following acts in furtherance of and to

effect the objects of the above-described conspiracy were committed in the Eastern District of

Virginia, and elsewhere:

               A)      From on or about July 27,2007 through on or about August 30,2007, the

Defendant and/or another member of the conspiracy successfully accessed ME's AOL account on

a protected computer operated by AOL in the Eastern District of Virginia multiple times, without

authorization, from Internet connections at both CSTCC and the Defendant's then-residence in

Tennessee.


                  B)   On or about September 4,2007, the Defendant attempted to access, without

authorization, from an Internet connection at CSTCC, where the Defendant worked, information

contained within the AOL electronic mail account of CE, the minor son of BE. This information

was stored on a protected computer operated by AOL within the Eastern District of Virginia. The

attempt failed.

                  C)    On or about October 22,2007, a member of the conspiracy mailed through

the U.S. Postal Service a copy of a November 15,2006 email from BE's work account to PF's

 AOL account to BE in the Eastern District of Virginia from the J.W. Marriott Pennsylvania

 Avenue Hotel in Washington, D.C.

                  D)    On or about November 15,2007, a member of the conspiracy mailed

 through the U.S. Postal Service a copy of the November 15,2006 email from BE's work account

 to PF's AOL account, as well as an April 17,2007 email from SP to BE's work address, to BE in

 the Eastern District of Virginia.



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               E)       On or about September 17,2007, a member of the conspiracy mailed

through the U.S. Postal Service to ME in the Eastern District of Virginia, in two envelopes, copies

of two emails. The first was of an email dated July 8,2007. The email had the subject line "Re:

Pictures," and was from BE to SW. The second email was dated August 14,2007. The email

had the subject line "Re: Hi" and was from BE to SW.

                   F)   On or about February 1,2008, a member of the conspiracy attempted to

access, without authorization, from an Internet connection associated with Carnival Cruises,

information contained within the AOL electronic mail account of ME. This information was

stored on a protected computer operated by AOL within the Eastern District of Virginia. The

 attempt failed.

                   G)    On or about March 10,2008, the Defendant and/or another member of the

 conspiracy attempted to access, without authorization, from an Internet connection at the

 Defendant's then-residence in Tennessee information contained within the AOL electronic mail

 account of PF. This information was stored on a protected computer operated by AOL within the

 Eastern District of Virginia. This attempt in 2008 failed. Similar attempts were made on that

 same date from the Defendant's residence in Tennessee on the AOL electronic mail accounts of

 BE and ME stored in the Eastern District of Virginia.




 (All in violation of Title 18, United States Code, Section 371).




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                                           COUNT TWO


                          (Unauthorized Access to a Protected Computer)

1.        All previous allegations of this Superseding Indictment are incorporated herein by

reference.

2.        On various dates beginning on or about November 20,2006 and continuing until at least

on or about March 10,2008, in the Eastern District of Virginia and elsewhere, the defendant,

ELAINE ROBERTSON CIONI, did intentionally access and attempt to access a computer without

authorization and exceed and attempt to exceed authorized access to a computer and thereby did
 obtain and attempt to obtain information from a protected computer used in interstate and foreign

 commerce, and such conduct involved an interstate communication, in furtherance of criminal and

 tortious acts committed in violation of the laws of the United States; that is, CIONI accessed and

 attempted to access, without authorization, a protected computer operated by AOL within the

 Eastern District of Virginia and obtained and attempted to obtain information (Le,, ME's

     unopened electronic communications) stored on that protected computer, by means of electronic

     communications from Tennessee and elsewhere, in furtherance of a violation of Title 18, United

     States Code, Section 2701.


     (All in violation of Title 18 United States Code, Sections 2,1030(a)(2)(C) and (c)(2)(B)(i)).




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                                           rniINT THREE


                      (Unlawful Access to Stored Electronic Communications)

1.        All previous allegations of this Superseding Indictment are incorporated herein by

reference.

2.        On various dates beginning on or around November 12,2007 and continuing until at least

on or around March 10,2008, within the Eastern District of Virginia, and elsewhere, the

defendant, ELAINE ROBERTSON CIONI, intentionally and without authorization, accessed and

attempted to access a facility through which an electronic communication service is provided, as

defined in Title 18, United States Code, Section 2510(15), and did intentionally exceed or attempt

 to exceed authorized access to that facility, and thereby obtain an electronic communication while

 the communication was in electronic storage in such system, in furtherance of criminal and

 tortious acts committed in violation of the laws of the United States; that is, CIONI gained and

 attempted to gain unauthorized access to the AOL account of PF, located on a computer operated

     by AOL within the Eastern District of Virginia, and obtained and attempted to obtain unopened

     electronic mail messages in PFs account by means of electronic communications from Tennessee

     and elsewhere, in furtherance of a violation of Title 18, United States Code, Section 371.



     (All in violation of Title 18, United States Code, Sections 2 and 2701(a)(l), (a)(2) and




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                                           COUNT FOUR


                          (Unauthorized Access to a Protected Computer)

1.        All previous allegations of this Superseding Indictment are incorporated herein by

reference.

2.         On or about March 10,2008, in the Eastern District of Virginia and elsewhere, the

Defendant, ELAINE ROBERTSON CIONI, did intentionally attempt to access a computer

without authorization and exceed authorized access to a computer and thereby did seek to obtain

information from a protected computer used in interstate and foreign commerce, and such conduct

involved an interstate communication, in furtherance of criminal acts committed in violation of

the laws of the United States; that is, CIONI intentionally attempted to access, without

 authorization, a protected computer operated by AOL within the Eastern District of Virginia and

 obtain information contained in PF's electronic mail account by means of interstate electronic

 communications from Tennessee and elsewhere, in furtherance of violations of Title 18, United

 States Code, Section 2701.



     (All in violation of Title 18, United States Code, Sections 2,1030(a)(2)(C) and (c)(2)(B)(i)).




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                                           TOIINT FIVE


                                    (Harassing Telephone Calls)

1.        All previous allegations of this Superseding Indictment are incorporated herein by

reference.

2.        On various dates beginning on or about March 29,2007 and continuing to on or about

May 30,2008, within the Eastern District of Virginia, and elsewhere, the Defendant, ELAINE

ROBERTSON CIONI, knowingly made interstate telephone calls or utilized an interstate

telecommunications device (often without disclosing her identity) and with the intent to annoy,

abuse, threaten, and harass a person at the called number or who received the communication; that

 is, CIONI made calls from Tennessee and elsewhere to the Eastern District of Virginia and

 elsewhere, often using technology to hide her identity by making the telephone calls appear to

 originate from telephone numbers other than her own and by failing to identify herserf when asked

 by the person at the called number. During the course of her conduct, CIONI made more than 300

 harassing calls to BE, his family, or his co-workers.




     (All in violation of Title 47, United States Code, Section 223(a)(l)(C)).




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                                            COUNT 6


                      (Unlawful Access to Stored Wire Communications)

1.      All previous allegations of this Superseding Indictment are incorporated herein by

reference.


2.      On various dates beginning on or about February 26,2007 and continuing until on or

about April 25,2007, within the Eastern District of Virginia, and elsewhere, the Defendant,

ELAINE ROBERTSON CIONI, did intentionally and, without authorization, access a facility

through which an electronic communication service is provided, as defined in Title 18, United

States Code, Section 2510(15), and thereby obtained wire communications while the

communications were in electronic storage in such system, in furtherance of a criminal or tortious

act in violation of the laws of the United States; that is, CIONI gained unauthorized access to the

T-Mobile voicemail account assigned to BE by his employer and obtained unopened voicemail

messages in BE's account, in furtherance of violations of Title 47, United States Code, Section

 223.




 (All in violation of Title 18, United States Code, Section 2701(a)(l), (a)(2) and (b)(l)(A)).

                                              A TRUE BILL



                                                    Fuj3uant {o the E=0tovemment Act,
                                                   the original of this page has been filed
                                                         fo pwl In Iha Cleric's Office.


                                               FOREPERSON OF THE GRAND JURY




                                               DATE: September 11, 2008



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CHUCK ROSENBERG
United States Attorney




  ssistant United States Attorney




 Michelle Kane
 Trial Attorney
 US. Department of Justice                   .
  Computer Crime & Intellectual Property Section




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